Case 9:22-mj-08332-BER Document 33 Entered on FLSD Docket 08/12/2022 Page 1 of 3




                              UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF FLORIDA
                                WEST PALM BEACH DIVISION


  UNITED STATES OF AMERICA
                                                             Case No.: 9:22-mj-08332-BER
                     v.

  SEALED SEARCH WARRANT
                                                      /

               MOTION OF THE ASSOCIATED PRESS TO INTERVENE,
             FOR ACCESS TO ALL SEARCH WARRANT RECORDS, AND
        IN SUPPORT OF THE UNITED STATES’ PARTIAL MOTION TO UNSEAL

         The Associated Press moves to intervene in this matter for the limited purpose of joining

  Intervenors WP Company LLC d/b/a The Washington Post, Cable News Network, Inc.,

  NBCUniversal Media, LLC d/b/a NBC News, and the E.W. Scripps Company (the “Media

  Intervenors”) in their motion (the “Motion”) (1) seeking an order unsealing and providing public

  access to all documents filed with this Court related to the search warrant executed on August 8,

  2022 at former President Donald J. Trump’s residence at the Mar-a-Lago Club in Palm Beach

  (the “Search Warrant Records”); and (2) supporting the United States’ motion to unseal limited

  warrant materials. ECF No. 22. The Court granted the Media Intervenors’ request to intervene

  in this matter earlier today. ECF No. 26.

                                    MEMORANDUM OF LAW

  I.     THE ASSOCIATED PRESS HAS STANDING TO INTERVENE IN THIS
         MATTER

         As the Eleventh Circuit has recognized, “[t]he press has standing to intervene in actions

  to which it is otherwise not a party in order to petition for access to court proceedings and

  records.” Comm’r, Ala. Dep’t of Corr. v. Advance Local Media, LLC, 918 F.3d 1161, 1170

  (11th Cir. 2019); see also Newman v. Graddick, 696 F.2d 796, 800 (11th Cir. 1983). The
Case 9:22-mj-08332-BER Document 33 Entered on FLSD Docket 08/12/2022 Page 2 of 3




  Associated Press is a news organization that has been covering the execution of the search

  warrant at Mar-a-Lago, and it therefore has standing to intervene for the limited purpose of

  seeking access to the Search Warrant Records.

  II.    THE COURT SHOULD UNSEAL ALL OF THE SEARCH WARRANT
         RECORDS

         The Associated Press adopts and incorporates by reference the memorandum of law

  previously filed by the Media Intervenors in connection with the Motion. ECF No. 22. For the

  reasons set forth in the Motion, the Court should unseal all of the Search Warrant Records.

  III.   CONCLUSION

         For the foregoing reasons, the Associate Press respectfully requests that the Court grant

  its motion to intervene and unseal any and all Search Warrant Records.

                                    REQUEST FOR HEARING

         Pursuant to Local Rule 7.1(b)(2), the Associated Press requests that the Court set a

  hearing on this motion. In light of the Court’s task in reviewing the interests that the government

  or Trump may assert, considering the many facts already publicly known about the investigation

  of Trump, and weighing the colossal public interest in the records, a public hearing would assist

  the Court and further the public’s interest in transparency. The Associated Press estimates that

  the time required for argument would be one hour. Because the Associated Press is represented

  in this matter by the same legal counsel as the Media Intervenors, no additional time for

  argument would be needed if the Media Intervenors’ request for argument is granted.

                     CERTIFICATION OF GOOD-FAITH CONFERENCE

         Pursuant to Local Rules 7.1(b)(2) and 88.9(a), undersigned counsel certifies that on the

  morning of August 11, 2022, he made reasonable efforts to confer with the United States

  Attorney’s Office for the Southern District of Florida, including leaving voicemail messages

  with the West Palm Beach office and the Public Information Officer and sending an email to the


                                                  2
Case 9:22-mj-08332-BER Document 33 Entered on FLSD Docket 08/12/2022 Page 3 of 3




  Public Information Officer. Later that morning, the Public Information Officer courteously

  responded by email that she would discuss the government’s position with the relevant attorneys

  and be in touch with a response. At the time of this filing, undersigned counsel has received no

  further communications from the government, but the government has made its position clear

  through its motion to unseal limited Search Warrant Records. ECF No. 18.

   Dated: August 12, 2022             Respectfully submitted,

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